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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                               CIVIL ACTION
       v.
                                               FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


      STATE DEFENDANTS’ AMENDED NOTICE OF APPEAL

      Notice is hereby given that, pursuant to 28 U.S.C. § 1292, State

Defendants Brad Raffensperger, in his official capacity as Secretary of State

and the Chair of the Georgia State Election Board, State Election Board

Members Rebecca N. Sullivan, David J. Worley, Anh Le, and Matthew

Mashburn, in the above-captioned case amend its earlier Notice of Appeal

filed on October 2, 2020 [Doc. 937] and hereby appeal to the United States

Court of Appeals for the Eleventh Circuit from the Opinion and Order on

Coalition Plaintiffs’ Motion for Preliminary Injunction on Paper Pollbook

Backups entered on September 28, 2020 at [Doc. 918], as amended by the

Court’s October 12, 2020 Order, [Doc. 966], granting in part Coalition

Plaintiffs’ Rule 59(e) Motion. See Fed. R. App. P. 4(a)(4)(B)(ii).
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Respectfully submitted this 16th day of October, 2020.

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                       L.R. 7.1(D) CERTIFICATION

      I certify that this Amended Notice of Appeal has been prepared with

one of the font and point selections approved by the Court in Local Rule

5.1(C). Specifically, this Notice has been prepared using 13-pt Century

Schoolbook font.

                                          /s/ Vincent R. Russo
                                          Vincent R. Russo
